Case: 1:20-cr-00077-TSB Doc #: 176-31 Filed: 01/06/23 Page: 1 of 22 PAGEID #: 4279




                                                                   TIER 2-US0007513
Case: 1:20-cr-00077-TSB Subpoena Coordinator
                        Doc #: 176-31 Filed: 01/06/23 Page: 2 of 22 PAGEID #: 4280
                                                                 Daniel Ilao

                                                            Daniel Ilao
                              Cellco Partnership dba Verizon Wireless
                        Daniel Ilao                              Subpoena Coordinator

                                                            Subpoena Coordinator
                              Verizon Wireless

       May 2006         Subpoena Coordinator
                              Present                            Cellco Partnership dba Verizon Wireless

                                                            Cellco Partnership dba Verizon Wireless
                              1-800-451-5242 x1

                                                             Verizon Wireless
                        Cellco Partnership dba Verizon Wireless
                           180,180 Washington
                                Washington Valley Valley RoadVerizon
                                                  Road, Bedminster, NJ Wireless
                                                                       07921




                        Verizon Wireless                         1-800-451-5242 x1
                                                            1-800-451-5242 x1
                              Bedminster, NJ 07921               180 Washington Valley Road
                                                            180 Washington Valley Road
                        1-800-451-5242 x1


                        180 Washington Valley Road
                                                                 Bedminster, NJ 07921
                                                            Bedminster, NJ 07921



                  September 12, 2019
                       Bedminster, NJ 07921


       Bedminster, NJ




                                                                                   TIER 2-US0007947
012132114ÿ670Case:
             0ÿ89 1:20-cr-00077-TSB Doc #: 176-31
                                               Filed:
                                                     ÿÿ 01/06/23
                                                               ÿÿPage:
                                                                           ÿ3ÿof22
                                                                                           PAGEID #: 4281
                                                                                                                                    *+ÿ-./.
                                                                                                                                            ÿ
                                                                                                *012+34ÿ50671289ÿ57:;304<ÿ63=;-2<460
                                                                                                           >?@ÿA<5B24C834ÿ*<--09ÿ13<D
                                                                                                                      :0D=245801ÿ4Eÿ@FGH>
                                                                                                         ;I.JKLÿ?@@MNO>MOHNHÿPQRL???MSSFM@@H?
 3TU.VKWÿ>HXÿH@H@
 ÿ
 ÿ
 ÿ
 ÿ
 YZ[\]^_ÿabcZÿdeÿfghijiikj
 l^mnZoÿpÿq\rZÿdeÿstuÿqvwÿqxyzÿ{f|ii|ffkj
 ÿÿ
 5UQUKÿ.}ÿ4K~ÿEKWK
 ÿ
 L
 ÿ
 6.JUÿ.}ÿ5.KWKU
 ÿ
 ÿ
 2XÿA<-801ÿD0601XÿVKJ/ÿÿ~.WJXÿK.KÿQJÿQL
 ÿ
 2ÿQÿUIKÿTU.QJÿ.}ÿWKT.Wÿ}.Wÿ*KW.JXÿQJÿJÿUIQUÿTQQTUXÿ2ÿTKWU}ÿUIQUÿUIKÿQUUQTIKÿ>@ÿQ/Kÿ.}ÿWKT.WÿQWK
 UWKÿQJÿQTTWQUKÿT.Kÿ.}ÿUIKÿWKT.WÿTWKQUKÿ}W.ÿUIKÿJ}.WQU.JÿQJUQJKÿVÿ*KW.JÿJÿUIKÿQTUQÿT.WK
 .}ÿVJKÿÿ2Uÿÿ*KW.Jÿ.WJQWÿWQTUTKÿU.ÿQJUQJÿTIÿWKT.WXÿQJÿUIQUÿQÿWKT.Wÿ~KWKÿQK
 T.JUK.WQJK.ÿ~UIÿUIKÿUWQJQTU.JÿQJÿKKJUÿUQUKÿUIKWKJXÿ.Wÿ~UIJÿQÿWKQ.JQVKÿUKÿUIKWKQ}UKW
 ÿ
 ÿ
 ÿA<-801ÿD0601ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿ
 ÿ
 ÿ
 6KWU}TQU.Jÿ}..~J/ÿ7565ÿPKKWQÿ1Kÿ.}ÿ0KJTKÿ1KÿG@Hÿÿ?@




722272 2!"#$%&02#'2"2$ 28()')2 ÿÿ ÿÿ ÿÿ                                             020
Case: 1:20-cr-00077-TSB Doc #: 176-31 Filed: 01/06/23 Page: 4 of 22 PAGEID #: 4282




                      Ali Abouomar

                                                   Custodian of Records

                    Verizon Wireles

       2019                 2020




                                                       Verizon Wireless

                             180 Washington Valley Road, Bedminster NJ 07921




                  10/9/20



         Verizon Wireless
Case: 1:20-cr-00077-TSB Doc #: 176-31 Filed: 01/06/23 Page: 5 of 22 PAGEID #: 4283




                   Siaka Sesay

                                                            Records Custodian

           Verizon Wireless


   01/01/2017                      present




                                                            Verizon Wireless

                   180 Washington Valley Road, Bedminster, NJ 07921




                   10/28/2019



   Bedminster, NJ 07921




                                                                                TIER2-US0015370
Case: 1:20-cr-00077-TSB Doc #: 176-31 Filed: 01/06/23 Page: 6 of 22 PAGEID #: 4284




               Siaka Sesay


                                                        Records Custodian

               Verizon Wireless

       01/01/2017                 11/22/2019




                                                                  Verizon Wireless


               180 Washington Valley Road, Bedminster, NJ 07921




                    10/12/2020                 /s/ Siaka Sesay



       Bedminster, NJ
     Case: 1:20-cr-00077-TSB Doc #: 176-31 Filed: 01/06/23 Page: 7 of 22 PAGEID #: 4285
DEC-09-2019     08:53               FBI-COLUMBUS,OH                                                                     P.006




                                                                                                                2019R00448 - 077

              CERTIFICATE OF AUTHENTICITY OF BUSINESS RECORDS PURSUANT TO FEDERAL
                                    RULE OF EVIDENCE 902(1 n


                                                                  attest on penalty of criminal punishment for
                                      Name
              false statement or false attestation that.I am/was the                        ^



                   ^o(o                 •    0/2   a:s
                  _________ through          /     X        and that I also am/was a custodian of records for that

              same time period,

                     I have reviewed the attached records. I certify that these records are the original or

              duplicate copies of the original records in the custody of                    _____________ ,

              located at__

                     I further state that:

                     A)       such records were made, at or near the time of the occurrence of the matters set

                             • forth, by (or from information transmitted by) a person with knowledge of those

                             matters;

                     B)      such records were kept in the course of a regularly conducted business activity;

                     C)      the business activity made such records as a regular practice; and

                     D)       if such record Is not the original, such record is a duplicate of the original.




                                                                                                                       TOTAL P.006

                                                                                                                   TIER2-0031703
    Case: 1:20-cr-00077-TSB Doc #: 176-31 Filed: 01/06/23 Page: 8 of 22 PAGEID #: 4286


               CERTIFICATE OF AUTHENTICITY OF DOMESTIC RECORDS PURSUANT
                        TO FEDERAL RULES OF EVIDENCE 902(11), 902(13) & 803(6)



    Christopher W. Taylor
I, _________________   _____________, attest, under penalties of perjury by the laws of the United States of
America pursuant to 28 UCS § 1746, that the information contained in this certification is true and correct.
                 Verizon Wireless
I am employed by ________________________,                  Legal Support Coordinator
                                           and my title is ________________________.  I am qualified to
authenticate the records attached hereto because I am familiar with how the records were created, managed, stored,
and retrieved. I state that the records attached hereto are true duplicates of the original records in the custody of
Verizon Wireless
________________________. The attached records consist of:




I further state that:

    a. All records attached to this certificate were made at or near the time of the occurrence of the matters set
         forth by, or from information transmitted by, a person with knowledge of those matters, they were kept in
                                                                               Verizon Wireless
         the ordinary course of the regularly conducted business activities of ____________________, and they
         were made by ____________________
                      Verizon Wireless     as a regular practice, and
                                      Verizon Wireless
    b. Such records were generated by ____________________ electronic process or system that produces an
         accurate result, to wit:
             1. The records were copied from electronic device(s), storage medium(s), or file(s) in the custody of
                  Verizon Wireless
                  ____________________ in a manner to ensure that they are true duplicates of the original records;
                  and
                                                                Verizon Wireless
             2. The process or system is regularly verified by ____________________, and at all times pertinent
                  to the records certified here the process and system functioned properly and normally.

I further state that this certification is intended to satisfy Rules 902(11), 902(13) and 803(6) of the Federal
Rules of Evidence.




 Signature



 Date




                                                                                                   TIER2-0034809
Case: 1:20-cr-00077-TSB Doc #: 176-31 Filed: 01/06/23 Page: 9 of 22 PAGEID #: 4287




                 Sheila Smith

                                                Subpoena Coordinator

            Verizon

    Oct 2008                    present




                                                   Verizon

                 180 Washington Valley Road




                  2/12/2020




    Verizon - Bedminster, NJ
Case: 1:20-cr-00077-TSB Doc #: 176-31 Filed: 01/06/23 Page: 10 of 22 PAGEID #: 4288




                Dorothy Altenor

                                                       Subpoena Compliance Coordinator

             Verizon Wireless




                                                               Verizon Wireless

                180 Washington Valley Rd Bedminster NJ 07921




                 02/27/2020




      Bedminster, New Jersey




                                                                                         TIER2-0042563
Case: 1:20-cr-00077-TSB Doc #: 176-31 Filed: 01/06/23 Page: 11 of 22 PAGEID #: 4289




              Clay Brown

                                                 Subpoena Coordinator

        Verizon

       2010                  Pres




                                                      Verizon

              180 Washington Valley Rd Bedminster, NJ 07921




                  6/9/2020



      Bedminster, NJ




                                                                        TIER2-0045122
Case: 1:20-cr-00077-TSB Doc #: 176-31 Filed: 01/06/23 Page: 12 of 22 PAGEID #: 4290




          Kathleen Jones

                                             Coordinator

        Verizon

   2003                  2020




                                                 Verizon

           180 Washington Valley Road Bedminster New jersey




                                        /s/ Kathleen Jones
             6/29/2020



    New Jersey
           Case: 1:20-cr-00077-TSB Doc #: 176-31 Filed: 01/06/23 Page: 13 of 22 PAGEID #: 4291


                          CERTIFICATE OF AUTHENTICITY OF DOMESTIC RECORDS PURSUANT
                                    TO FEDERAL RULES OF EVIDENCE 902(11), 902(13) & 803(6)



           Christopher W. Taylor
       I, _________________   _____________, attest, under penalties of perjury by the laws of the United States of
       America pursuant to 28 UCS § 1746, that the information contained in this certification is true and correct.
                        Verizon Wireless
       I am employed by ________________________,                  Legal Support Coordinator
                                                  and my title is ________________________.  I am qualified to
       authenticate the records attached hereto because I am familiar with how the records were created, managed, stored,
       and retrieved. I state that the records attached hereto are true duplicates of the original records in the custody of
       Verizon Wireless
       ________________________. The attached records consist of:

       Subscriber information and device ID for mobile numbers 7407072500, 6142046703, 6142041050 and
       6145815826 as of 07/10/2020.



       I further state that:

            a. All records attached to this certificate were made at or near the time of the occurrence of the matters set
                     forth by, or from information transmitted by, a person with knowledge of those matters, they were kept in
                                                                                           Verizon Wireless
                     the ordinary course of the regularly conducted business activities of ____________________, and they
                     were made by ____________________
                                  Verizon Wireless     as a regular practice, and
                                              Verizon Wireless
            b. Such records were generated by ____________________ electronic process or system that produces an
                     accurate result, to wit:
                         1. The records were copied from electronic device(s), storage medium(s), or file(s) in the custody of
                             Verizon Wireless
                             ____________________ in a manner to ensure that they are true duplicates of the original records;
                             and
                                                                            Verizon Wireless
                         2. The process or system is regularly verified by ____________________, and at all times pertinent
                             to the records certified here the process and system functioned properly and normally.

       I further state that this certification is intended to satisfy Rules 902(11), 902(13) and 803(6) of the Federal
       Rules of Evidence.
                                    
                                    
                                    
                                    

         Signature


         July 14, 2020
         Date




                                                                                                         2019R00448-146

                                                                                                         VSAT 200175695
                                                                                                           TIER2-0045825
You created this PDF from an application that is not licensed to print to novaPDF printer (http://www.novapdf.com)
Case: 1:20-cr-00077-TSB Doc #: 176-31 Filed: 01/06/23 Page: 14 of 22 PAGEID #: 4292




                                                                               Verizon Security Assistance Team
                                                                                    180 Washington Valley Road
                                                                                         Bedminster, NJ 07921
                                                                         Phone: 800-451-5242 Fax: 888-667-0028
10/09/2020


Federal Bureau of Investigations
425 W Nationwide Blvd
Columbus, OH 43215


Verizon Case #: 200173872
Docket / File #: 2019R00448-147

State of New Jersey)

ss:

County of Somerset)



I, Josh Ransegnola, being duly sworn, depose and say:

I am the custodian of records for Verizon, and in that capacity, I certify that the attached 3 files
of records are true and accurate copies of the records created from the information maintained by
Verizon in the actual course of business. It is Verizon's ordinary practice to maintain such
records, and that said records were made contemporaneously with the transaction and events
stated therein, or within a reasonable time thereafter.


/s/ Josh Ransegnola




Certification following USCS Federal Rules of Evidence Rule 902 & 803.




                                                                                            TIER2-0045829
Case: 1:20-cr-00077-TSB Doc #: 176-31 Filed: 01/06/23 Page: 15 of 22 PAGEID #: 4293




           Brittany E. Meklin

                                             Subpoena Coordinator

      Verizon

   Nov 2012                Present




                                                  Verizon

              Bedminster, NJ




                25 July 2020           /s/ Brittany E. Meklin



   Bedminster, NJ




                                                                        TIER2-0045856
                      CellcoSubpoena
                             Partnership dba Verizon Wireless
                                      Coordinator
                     Subpoena Coordinator
Case: 1:20-cr-00077-TSB Doc #: 176-31 Filed: 01/06/23 Page: 16 of 22 PAGEID #: 4294
                                                               Daniel Ilao
                                                      Daniel Ilao
                         Verizon  Wireless
                               Cellco Partnership dba Verizon Wireless
                         Cellco Partnership dba Verizon Wireless
                        Daniel Ilao
                                                                 Subpoena Coordinator
                                                          Subpoena Coordinator
                         1-800-451-5242   x1
                              Verizon Wireless
                         Verizon Wireless
    May 2006
                        Subpoena Coordinator
                             present
                                                                Cellco Partnership dba Verizon Wireless
                         180 Washington Valley Road     Cellco Partnership dba Verizon Wireless
  Daniel Ilao
                               1-800-451-5242 x1
                         1-800-451-5242 x1
                        Cellco Partnership dba Verizon Wireless
                                                              Verizon Wireless
                           180 Washington   Valley
  Subpoena Coordinator 180 Washington Valley Road     Verizon
                                                   Road       Wireless
 Daniel Ilao
                       Bedminster, NJ 07921

                        Verizon Wireless
                                                               1-800-451-5242 x1
  Cellco Partnership dba Verizon Wireless               1-800-451-5242 x1
 Subpoena Coordinator
                               Bedminster,
                         Bedminster,       NJ 07921
                                     NJ 07921
                                                              180 Washington Valley Road
                        1-800-451-5242 x1               180 Washington Valley Road

  Verizon Wireless
 Cellco Partnership dba Verizon Wireless
                        180 Washington Valley Road

                                                              Bedminster, NJ 07921
  1-800-451-5242 x1                                     Bedminster, NJ 07921
 Verizon Wireless


  180 Washington Valley Road
                      Bedminster, NJ 07921

 1-800-451-5242November
                x1      13, 2020



 180 Washington Valley Road
  Bedminster, NJ 07921




 Bedminster, NJ 07921
Case: 1:20-cr-00077-TSB Doc #: 176-31 Filed: 01/06/23 Page: 17 of 22 PAGEID #: 4295




              Dorothy Altenor

                                                        Subpoena Compliance Coordinator




                                                             Verizon Wireless


             180 Washington Valley Rd Bedminster NJ 07921




               08/5/2020




  Bedminster New Jersey
         Case: 1:20-cr-00077-TSB Doc #: 176-31 Filed: 01/06/23 Page: 18 of 22 PAGEID #: 4296




                                                                                            VERIZON SECURITY SUBPOENA COMPLIANCE

                                                                                                     180 WASHINGTON VALLEY ROAD

                                                                                                                BEDMINSTER NJ 07921

                                                                                                    Phone: 800-451-5242 Fax:888-667-0028

December 13, 2022


US ATTORNEY CINCINNATI
221 E 4 ST STE 400
CINCINNATI OH 45202


Verizon Case #: 22518871
Docket / File #: L20-CR-077

State of New Jersey

ss:

County of Somerset


I, DEAN BOBSIN, being duly sworn, depose and say:

I am the custodian of records for Verizon, and in that capacity, I certify that the attached records are true and
accurate copies of the records created from the information maintained by Verizon in the actual course of
business. It is Verizon's ordinary practice to maintain such records, and that said records were made
contemporaneously with the transaction and events stated therein, or within a reasonable time thereafter.


/s/ DEAN BOBSIN


Certification following USCS Federal Rules of Evidence Rule 902 & 803.




                                                                         TIER 2 - 1731462
Case: 1:20-cr-00077-TSB Doc #: 176-31 Filed: 01/06/23 Page: 19 of 22 PAGEID #: 4297




             Josh Ransegnola




                                                                                          Subpoena Coordinator




                                  Verizon

                                  Subscriber info, call detail, text details,

                                  VoTLE details and Device ID




                                                                                           Verizon

                        Verizon

                                                      Verizon




                                            Verizon




                                                                                Verizon




04/13/2018
Case: 1:20-cr-00077-TSB Doc #: 176-31 Filed: 01/06/23 Page: 20 of 22 PAGEID #: 4298




                                  __________________________________

                                      Office of Integrity & Compliance
                                       180 Washington Valley Road
                                       Bedminster, New Jersey 07921


                                    Certification of Records


      To: Whom It May Concern

      Ref: Records for MTN: 614-204-6703

      I, Siaka Sesay, hereby state and declare that I am the “Custodian of Records” for Verizon
      Wireless. I have been employed in the Law Enforcement Resource Team since March
      2009. My duties include but are not limited to complying with subpoenas, court orders,
      search warrants and any other legal documents requesting records owned and maintained
      by Verizon Wireless. I have knowledge of and assist in maintaining all customer records
      for Verizon Wireless on a daily basis.

      I certify that the records accompanying this certification:

         1. Were made at or near the time of the occurrence of the matters set forth by, or
            from information transmitted by, a person with knowledge of those matters.

         2. Were kept in the course of regularly conducted activity: and

         3. Were made by the regularly conducted activity as a regular practice.

         4. Were true copies of all the records described in the request from the Clerk of the
            Court for the Potter Stewart US Courthouse, October 16th, 2017 generated by the
            Verizon Wireless billing system.

      I declare under penalty of perjury that the foregoing information is true and correct.

      Executed October 23rd, 2017.


      Signed: _________________________________




                                                                                         TIER 2 - 095438
Case: 1:20-cr-00077-TSB Doc #: 176-31 Filed: 01/06/23 Page: 21 of 22 PAGEID #: 4299




                                                                        TIER 2 - 096455
      Case: 1:20-cr-00077-TSB Doc #: 176-31 Filed: 01/06/23 Page: 22 of 22 PAGEID #: 4300
                                                                                                                      01ÿ3454
                                                                                                                              ÿ
                                                                                    067819 ÿ6 78ÿ 96 ÿ938 6
                                                                                              ÿ 89 ÿ0336ÿ79
                                                                                                        68 67ÿÿ
                                                                                            4!"ÿ#$%#%$ÿ&'("#))#
'*'+,ÿ-.ÿ-
ÿ
ÿ
&8ÿ93 
$%ÿÿ89 86ÿ30
  93  ÿ9ÿ$-%
ÿ
ÿ
/012345ÿ7890ÿ:;ÿ<=>?>@?@
A4BC0DÿEÿF2G0ÿ:;ÿ>;<?H7IH?JJ
ÿÿ
  K'K!ÿ4Lÿ!Mÿ!+N!,
ÿ
NN"
ÿ
  4*K,ÿ4Lÿ4O!+N!K
ÿ
ÿ
8.ÿ78967ÿ73.ÿP!Q5ÿR*S,ÿNM4+.ÿR!T4N!ÿ'RÿN',"
ÿ
8ÿ'OÿK!ÿU*NK4RQ'ÿ4Lÿ+!U4+RNÿL4+ÿ0!+QV4.ÿ'RÿQÿK'KÿU'T'UQK,.ÿ8ÿU!+KQL,ÿK'KÿK!ÿ'KK'U!Rÿ+!U4+RNÿ'+!ÿK+*!ÿ'R
'UU*+'K!ÿU4TQ!Nÿ4LÿK!ÿ+!U4+RNÿU+!'K!RÿL+4OÿK!ÿQL4+O'KQ4ÿO'QK'Q!RÿP,ÿ0!+QV4ÿQÿK!ÿ'UK*'SÿU4*+N!ÿ4L
P*NQ!NNWÿÿ8KÿQNÿ0!+QV4XNÿ4+RQ'+,ÿT+'UKQU!ÿK4ÿO'QK'QÿN*Uÿ+!U4+RN.ÿ'RÿK'KÿN'QRÿ+!U4+RNÿM!+!ÿO'R!
U4K!OT4+'!4*NS,ÿMQKÿK!ÿK+'N'UKQ4ÿ'Rÿ!Y!KNÿNK'K!RÿK!+!Q.ÿ4+ÿMQKQÿ'ÿ+!'N4'PS!ÿKQO!ÿK!+!'LK!+W
ÿ
ÿ
ZNZÿ78967ÿ73ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿ
ÿ
ÿ!+KQLQU'KQ4ÿL4SS4MQ5ÿ ÿ&!R!+'Sÿ7*S!Nÿ4Lÿ6YQR!U!ÿ7*S!ÿÿ[ÿ-W
